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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division

                                                                                                  /   I
 SHARYL THOMPSON ATTKISSON,                                                            JAN !2
 ei al..

                        Plaintiffs.


        V.                                        Civil Action No. 1:17cv0364 (LMB/JFA)

 ERIC HOLDER, ei al..

                        Defendants.



                                             ORDER


        On Friday. January 12. 2018. plaintiffs and non-party United Stales of Amcrica appeared

 before the court to present argument on plaintiffs" motion to compel (Docket no. 159). Upon

 consideration of the motion, memorandum in support (Docket no. 160). opposition (Docket no.

 166). and reply (Docket nos. 168-69). and for the reasons slated from the bench, it is hereby

        ORDERED that plaintitTs" motion to compel is denied wiihoul prejudice.

        Entered this 12th day of January. 2018.

                                                                  ./s/
                                                    J'Hhn F. Anderson
                                                    Un[ted Slates Ivlagistrate Judge
                                                     Jolin F. Anderson
 Alexandria, Virginia                                United Stales Magistrate Judge
